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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                Case No. 23-20073-CIV-ALTONAGA/Damian

  FLORAL LOGISTICS OF MIAMI, INC.,

             Plaintiff/Counter-Defendant,

  v.

  NEW YORK GARDEN FLOWER
  WHOLESALE, INC., and DHAN
  PAIH, an individual,

        Defendants/Counter-Plaintiff.
  _____________________________________/

                PLAINTIFF’S, FLORAL LOGISTICS OF MIAMI, INC.,
               REPLY TO DEFENDANTS’ RESPONSE TO PLAINTIFF’S
       STATEMENT OF FACTS AND DEFENDANTS’ ADDITIONAL FACTS [ECF No. 53]

             Plaintiff, FLORAL LOGISTICS OF MIAMI, INC. (“Floral Logistics” or “Plaintiff”), by

  and through the undersigned counsel, hereby files its Reply to Defendants, NEW YORK

  GARDEN FLOWER WHOLESALE, INC. (“NY Garden”) and DHAN PAIH (“Paih”)

  (collectively “Defendants”) Response to Plaintiff’s Statement of Facts and Defendants’ Additional

  Facts (the “Additional Facts”) [ECF No. 53]. Plaintiff states as follows:

        16. Undisputed.

        17. Disputed. Plaintiff has no knowledge of what Defendant “believed.” However, the

             language in the Credit Application is clear as to its purpose and enforceability. See Exhibit

             C to Plaintiff’s Statement of Material Facts [ECF No. 50-3].

        17.1 Disputed. The language in the Credit Application is clear as to the claim filing process.

             See Exhibit C to Plaintiff’s Statement of Material Facts [ECF No. 50-3].



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      Defendants’ Additional Facts include two paragraph 17s.


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     18. Undisputed.

     19. Disputed. Defendants did not complain or take issue with any of the services prior to the

        Plaintiff sending the Defendants a Debt Validation Notice of August 23, 2022, and thus,

        Plaintiff could not have waived this requirement. See Exhibit A ¶¶ 10-13 to Plaintiff’s

        Statement of Material Facts [ECF No. 50-1] and Exhibit D to Plaintiff’s Statement of

        Material Facts [ECF No. 50-4]. Regardless, this is a legal argument, not a material fact in

        dispute.

     20. Disputed. It is disputed that Plaintiff breached the contract or implied covenant of good

        faith and fair dealing. See Exhibit A at ¶¶ 10-11 to Plaintiff’s Statement of Material Facts

        [ECF No. 50-1]. Regardless, this is a legal argument, not a material fact in dispute.

     21. Disputed. While it is undisputed that Defendant, NY Garden, seeks “additional damages

        for loss of profit in the amount of $51,081 and loss of business reputation and goodwill as

        to its relationships with customer retailers” in its Third Amended Counterclaim, it is

        disputed that Defendant is entitled to such relief. See Exhibit A at ¶¶ 10-13 to Plaintiff’s

        Statement of Material Facts [ECF No. 50-1]. Regardless, this is a legal argument, not a

        material fact in dispute.

     22. Disputed. Plaintiff merely represents that at the time of sending the Debt Validation Notice,

        Plaintiff’s records showed that Defendants owed Plaintiff a balance of one hundred eighty-

        one thousand six hundred forty-nine dollars and forty-six cents ($181,649.46). Defendants

        allege that they have paid Plaintiff a total amount of twenty-three thousand three hundred

        seventy-seven dollars and fifty-seven cents ($23,377.57). For purposes of this Motion for

        Summary Judgment only, Plaintiff agrees to reduce the balance owed to it to one hundred

        fifty-eight thousand two hundred seventy-one dollars and eighty-nine cents ($158,271.89).




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         See Exhibit A at ¶¶ 13-15 to Plaintiff’s Statement of Material Facts [ECF No. 50-1]. Thus,

         this fact is not in dispute.

     23. Disputed. Plaintiff has no knowledge of Defendant’s business. But Mother’s Day is

         generally known to be one of the most important dates for floral companies.

     24. Disputed. It is disputed that Plaintiff’s delivery was delayed and that it damages flowers.

         See Exhibit A at ¶¶ 10-11 to Plaintiff’s Statement of Material Facts [ECF No. 50-1].

  Respectfully submitted on this 30th day of August 2023.

                                                      AINSWORTH + CLANCY, PLLC
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                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on August 30, 2023 a true and correct copy of the foregoing

  was electronically filed with the Clerk of Court using CM/ECF.

                                                      By: s/ Ryan Clancy
                                                      Ryan Clancy, Esq.




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